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                EXHIBIT 10
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                                                                                                              Via C2r.-.:=ied. Mail

    ••
    0          Bergen Brunswig Gnrporauon
                                                                ~c:io l.~ et rc ;; o1it a n   )riv P. . Cr~ni;e .   c..:- ?2<:c:   ; 7~.l )   JSS-40 00



       5e?tember 30, 1996



       Mr. G. Tnomas Gitchei
       Chief, Liaison and Policy Section
       Druo-
           0
             L'lforcement Administration
       United St3.tes Departrne.-ri.t of Justice
       Washington, DC 20537

       Dear :V1r. Gi tche l,

          The purpose of this letter is to intoduce the Drug Enforcement Ad.ministration (DEA) to
       an innovative new system under development by Bergen Brun.swig Drug Company (B BDC)
       to ::lonitor and report customer orders of controlled substances which fit the su.spicous order
       criteria outlined in 21CFR§1301.74 (b).

          By way of background, as you know BBDC ?articipated in the development of a .::1.odel
       Excessive Purchase Report now in use by many distributor registrants. As used by BBDC, t...li.e
       Excessive Purc.hase Report lists total customer purchases for the reported month whicJi.
       exceed pre-cetermined multiples of the average monthly purchases of BBDC's total customer
       base. The program ide::-i.tifies purchases by individual DEA Drug Code and reads BBDC's
       sales files to calculate ave!'ages to be used as reporting criteria. The prir.ted. report (actually a
       se:ies of reports) separates pharmacy registrants and hospital registrants, and furt.J1er
       separates purchases by ARCOS class substa..'1ces and non-ARCOS class substances within the
       resp ective ?harmacy and hospital reports . This report is produced in hard-copy form
       monthly and is sent vi.a certified mail to eac..~ DEA Field Office having responsibility for the
       rep o r~...ng BBDC locations.

           \iV'r.ile feecibac~ frnrr. diifere:1.t DEA users over the years has generally confirm ed our beiief
        L~at  this report, standing alone, is a l!.Seful law enforcement tool, BBDC's suspicious o rC:.er
        cor:i.pliance program also involves L~e tele?honic reporting of C'J.Stomer orders to DEA. In an
        average year, BBDC lo gs over nvelve thousand (12,000) telephone calls to DEA Eeld Offices
        nationwide to orally report custo me r orders of controlled substances which it believes could
        fa the sus~icious o rder criteria set for~l-i. ir, § 1301.74 (b). In nearly every instance, the
        telephonic contacts are made to report orders which later appear on the monL'ri.-enci Excessive
        Purchase Report sent to D EA.

           As you :-nay ima~...ne giveri. the sr.eer r:.urr.ber of BBDC's contacts, DEA Field Office
        response to the hequ er,cy and mar..ner of BBDC's contacts has been varied. Some Eelci
        Ofiices have ir.s isted that BBOC net te!e?honicall y report suspicious orders at all, but ra tr.er




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      to rr. a iJ. o r fax copi es oi L'te ::i rder documents, 2.22 Forrn..s o r invo ices to them instead. Some
      o ffices '.la ve diplo m a tica lly attempted to offer guidance as to the types o f orders that their
      o ff. ce wou ld deem to be " repo rtable" in an effort to i.i.mit the number of telephone conta cts .
      These telep hone con tacts are ine fficient, ':lurdensome and costly both for BBDC and DEA, as
      the te~ e ? h o ne cans tie UEJ DEA Investig a to r ti..me md CO nsl.<lTie precious acirr.i.nistrative
      resourc es.

          I could appreciate DE.-\.'s belief that 12,000 BBDC telephone calls per year ma y '::ie "o ve r
      doing ~t. " i.£ no t for L'te fa c: that the regulations clearly place the responsibility solely on the
      ; egi st:a.nt to d isclose an y orders which fit the suspici ou..s order criteria, and it has always been
      BB DC s pos itio n to ad o pt a conservative and thorou gh approach on matters uwoLving
      con t:oUed subs tance regulatory compliance.

           ln June 1995, Steve H arro ld , BBDC Director, Corpo rate Security, a tte!lded the DEA-
       Inciustry Conference held in Naples, Flo rida. At this conference, in the Workshop e....11.ti.tled
       "Imp ro ving U tilization o f Existing Tec,..~ology to Meet DEA Requirements " led by l'vlichael
       Moy, Mr . Harrold repor:ed on the issue of telephonic suspicious order reporting and :he
       car.sequent requests BBDC had receiv ed from various DEA Field Offices to limit suspicious
       o rder rep orts by te lephone or to report orders in other ways (e .g. sending copies o f o rders by
       U.S !\-fail, Fax, etc. ). It was I'vlr. Harrold's impression that DEA would be amenable ~o
       e:·cp ior..:.'l g the concept o f electronic transmission of suspicious orders .

           /i..gainst tliis back drop, BBDC set to work on the development of a st:.Spic ous order
       r eporting ?ro gram that would provide better quality information to DEA in a m o re efficent
       CL illUl.e r .


               O ur plan involv es t.J.~e ceation of a computer program that comp ares a customer's
       cc ntroiled substance o rders (expressed i.n metric units of the ac':::ive ing:-ed ie..-ri.t) against a
       s tanda rd representing an ave rage of Lh.e customer' s prior four months of orders. Customer's
       w hose orders exceed by a specified percentage their prior four month average order history
       ·,...,·odd be p rin ted on a summary report. BBDC's main.frame computer in Orange, Cahlornia
        would au to ma ticaUv fax tbs reoort.simultaneouslv :o each respec tive DEA Field O ffice daily
                              J             ~                    J

       in the early AM ho urs after the distributio n center has co mple ted o rder p recessing activities.
        vVr.en DEA o ffic es o p e!l. e ach d ay, the s ummary rep o rt w ould be w aiting fo r their re vie w .
        D EA offices cou lci al.so el ect to receive a month-end version o f this rep ort via U.S. M ail. Tne
        sarY'~Tl a ry report w o uld show the c.lstomer name, address, DEA Numb er, Item Descriptio n,
         NDC Numb er, O rd er Date, Active Ingredient Volurr.e Ord ered, Acti ve Ingredient Shipped
         and Custcmer " Allo wance" (i.e. average o f customers' prior four months orders ).

              Wnile the C'..l G er'. t mo nth-end : epo rt compa res a cu sto mer's vurch ases against an av erage
        of calend ar m onL'L sa les to aU li.'.<e custo mers, the p rop osed report w ould compare a
        cus~omer's daily o rde rs ag air.s t tha t custome ~ ' s p rio r o rd e:-s. Tnis ana lysis would
        tr.ec : et'.caliy spot a c1s to me r w ho orders a singular'.y !arge a mo u nt of controll ed substances.
        T'r-.c c'-"rren t m onl°rt-end ccpo rt would contim 1e to look at the C'.J.Stc mer's purchases in light of
        t'.-.e en tire cus tome c base.




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         Our in:ent :.S to receive DEA's perrnissi on to replace our current manner of daily
    suspicious order reporting (e.g. U.S. Mail; Telephone Calls) with this daily electronic facsi.mile
    reoort. We would like to have DEA input on the final product because DEA will be the
    ?ri.rnary users. One suggestion would be to coordinate vvith one of your Field Offices,
    perhaps the Los .A.ngeles Office, to meet with our project development team. Your field
    office could beta test the report and provide us 'Ni.th input on aesthetics and content. Tnere
    are some key questions that DEA would need to provide input on before the report is
    finalized. One question would be the assignment of the percentage value that a customer's
    o rder would have to exceed before that order would appear on the report. This value would
    directly impact the size of the report. Working with DEA's in.put, we hopefully will identify
    t.h.e op t::i.:::lum peccentage value that will yield DEA the highest quality information Vvithout
    sacrihc~g administrative cost and efficiency. Once the Field Office test is concluded and the
    recommendations incorporated into the final product, then we can coordinate with your
    office :o introduce the report to the entire DEA system..

       Tom, we are excited about this opporhlnity to make constructive c...11anges in our suspicious
    order report'.ng program. By working in a partnership with your office, we can perhaps lead
    the way to de veloping a new system that everyone feels good about.

       I will schedule a call to your office in about two   w~k.s   to follow-up on this letter and to
     speak with you about how we can move :onvard.

     Since!'ely,

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      ,.
     C nns
             ,Z :.merman
             L..lli

     :\far.ager, Corporate Sec.rrity




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                     SENDER:                    '     '
                     • Comple;te items 1 and/or 2 for additional services.                                 I also wish to receive the
                     ~Complete items 3, 4a, and 4b.                                                        following services (for an
                     •Print your name and address on the reverse of this form so that we can return this   extra fee):
                       card to you.                                                                                                              ai
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                     •Attach this form to the front of the mail piece, or on the back if space does nor        0
                      permit.
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                     •Write "Aetum Receipt Requested" on the mailpiece below the article   number.          2. 0   Restricted Delivery         Cf)
                     •The Return Receipt will show to whom the article was delivered and   the date
                      delivered.                                                                           Consult postmaster for fee .         a.
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                     3. Article Addressed to:                                              4a. Article Number                                   GI

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                     PS Form 3811, December 1994                                      102ses.91-s-0119     Domestic Return Receipt




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